             Case 3:23-cr-00065-DJH Document 1 Filed 05/10/23 Page 1 of 1 PageID #: 1
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AO 91 (Rev. 11/11) Criminal Complaint
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                                                                                                                                 CLERK
                                     UNITED STATES DISTRICT COURT                                                             
                                                                  for the
                                                                                                                      U.S. DISTRICT COURT
                                                 :HVWHUQ'LVWULFWRI.HQWXFN\
                                                     __________ District of __________
                                                                                                               WESTERN DISTRICT OF KENTUCKY
                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.       0-
                  KELVIN L. ANDERSON                                 )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       May 9, 2023                in the county of              Jefferson                   in the
     Western           District of             Kentucky          , the defendant(s) violated:

             Code Section                                                      Offense Description
21 U.S.C. Section 841(a)(1) and                Possession with intent to distribute a mixture or substance containing 500
(b)(1)(A)(Viii)                                   grams or more of a mixture or substance containing a detectable amount of
                                                  methamphetamine




         This criminal complaint is based on these facts:
See attached Affidavit




         ✔ Continued on the attached sheet.
         u
                                                                                                            Digitally signed by
                                                                                       REILLY               REILLY TEAL

                                                                                       TEAL                 Date: 2023.05.10
                                                                                                            16:00:12 -04'00'

                                                                                                Complainant’s signature

                                                                                        Special Agent Reilly L. Teal, DEA
                                                                                                 Printed name and title

Sworn to before me WHOHSKRQLFDOO\and signed E\


Date:             05/10/2023
                                                                                                   Judge’s signature

City and state:                         Louisville, Kentucky                        Colin H. Lindsay, U.S. Magistrate Judge
                                                                                                 Printed name and title
